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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

Abigail Carmichael Jordan,


                      Plaintiff,

       v.

                                                    Case No. 1:24-cv-01844-TNM
Marco Rubio, in his official capacity as U.S.
Secretary of State, et al.,



                      Defendants.


              PLAINTIFF’S REQUEST FOR ISSUANCE OF SUMMONSES

       Plaintiff Abigail Carmichael Jordan respectfully requests that the Clerk of Court issue the

attached summonses, so that Plaintiff may effectuate prompt service of the Amended Complaint

(Dkt. 24).


 Dated: February 3, 2025                        Respectfully submitted,

                                                /s/ Robert A. Batista
                                                Robert A. Batista (D.C. Bar No. 1618522)
                                                   Counsel of Record
                                                Jonathan C. Bond (D.C. Bar No. 1003728)
                                                GIBSON, DUNN & CRUTCHER LLP
                                                1700 M Street, N.W.
                                                Washington, D.C. 20036-4504
                                                Telephone: (202) 955-8500
                                                Facsimile: (202) 467-0539
                                                RBatista@gibsondunn.com
                                                JBond@gibsondunn.com

                                                Counsel for Plaintiff
